                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 In re:                                             Case No. 24-40667
                                                    Chapter 13
 Brandon Yopp,
                                                    Judge Maria L. Oxholm
     Debtor.


    ORDER DIRECTING PRODUCTION OF DOCUMENTS AND ORAL
                  EXAMINATION OF DEBTOR

          THIS MATTER is before the Court on the Motion for Order Directing

Production of Documents and Oral Examination of Debtor (the “Motion”) filed by

I Am Detroit, Inc. and Hatteras, Inc. (collectively “the Creditors”); notice of the

Motion was properly served; the Debtor timely filed a response to the Motion on

March 26, 2024 and a hearing was held on the Motion on April 15, 2024 (the

“Hearing”) and, for the reasons stated in the Motion and on the record at the Hearing

and wherein presentment of the order was waived,

          NOW THEREFORE, IT IS HEREBY ORDERED, the Motion is GRANTED,

Debtor, is hereby directed to produce the following records to Creditors within seven

days of the entry of this Order: (a) the correct spelling of the first and last name of

each of the current members of US Printing and Packaging, LLC (“USPP”); (b) the

current operating agreement for USPP; (c) USPP’s tax returns for the years 2021

through 2023; (d) Debtor’s personal tax returns for the years 2021 through 2023; (e)


                                             1
  24-40667-mlo     Doc 30   Filed 04/15/24       Entered 04/15/24 15:16:54   Page 1 of 6
132553270v1
any existing valuations or appraisals of USPP in the last two years; (f) valuations or

appraisals of the Debtor’s current residence in the last two years; (g) Debtor’s

paystubs for December 2023 and year to date paystub through the date of this Order;

and (h) any records pertaining to the sale of the assets of USPP or the sale of Debtor’s

membership interest in USPP, including but not limited to, any written purchase

offers, business sale listings or business broker listing agreements.

      NOW THEREFORE, IT IS FURTHER ORDERED, that Creditors’ are

authorized to file and serve upon Debtor a notice of deposition of Debtor, Brandon

Yopp, at least seven days in advance of the Rule 2004 examination date.




                                             2
   24-40667-mlo
132553270v1       Doc 30    Filed 04/15/24       Entered 04/15/24 15:16:54   Page 2 of 6
                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION - DETROIT

 In re:                                                                     ) Case No. 24-40667
                                                                            ) Chapter 13
 Brandon Yopp,                                                              )
                                                                            ) Judge Maria L. Oxholm
     Debtor.                                                                )
                                                                            )

     NOTICE OF MOTION FOR ORDER DIRECTING PRODUCTION OF
         DOCUMENTS AND ORAL EXAMINATION OF DEBTOR

       I Am Detroit, Inc. and Hatteras, Inc. (collectively “the Creditors”) has filed
papers with the Court seeking entry of an Order pursuant to Fed. R. Bankr. P. 2004,
directing Debtor to produce records and for Debtor to appear for oral examination.

Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.)

      If you do not want the court to grant the motion, or if you want the court to
consider your views on the motion, within fourteen (14) days, you or your attorney
must:

1.                 File with the court a written response or an answer, explaining your
                   position at:1

                                       United States Bankruptcy Court
                                            211 West Fort Street
                                           Detroit, Michigan 48226

                   If you mail your response to the court for filing, you must
                   mail it early enough so the court will receive it on or
                   before the date stated above. All attorneys are required to
                   file pleadings electronically.

 1    Response or answer must comply with F. R. Civ. P. 8(b), (c) and (e)



                                                                    3
   24-40667-mlo
132553270v1                Doc 30          Filed 04/15/24               Entered 04/15/24 15:16:54     Page 3 of 6
            You must also send a copy to:

                   Kimberly Ross Clayson (P69804)
                   R. Christopher Cataldo (P39353)
                   Deborah S. Rubin (P58752)
                   Counsel to Creditors, I Am Detroit, Inc. and Hatteras, Inc.
                   27777 Franklin Road, Suite 2500
                   Southfield, Michigan 48034
                   kclayson@taftlaw.com
                   ccataldo@taftlawcom
                   drubin@taftlaw.com

2.          If a response or answer is timely filed and served, the clerk will
            schedule a hearing on the motion, and you will be served with a notice
            of the date, time and location of the hearing.

      If you or your attorney do not take these steps, the court may decide that
you do not oppose the relief sought in the motion or objection and may enter an
order granting that relief.


                                Respectfully submitted by:

                                TAFT, STETTINIUS & HOLLISTER, LLP

Dated: March 14, 2024           By:    /s/ Kimberly Ross Clayson
                                       Kimberly Ross Clayson (P69804)
                                       R. Christopher Cataldo (P39353)
                                       27777 Franklin Road, Suite 2500
                                       Southfield, Michigan 48034
                                       Phone: (248) 351-3000
                                       kclayson@taftlaw.com
                                       ccataldo@taftlawcom

                                       Counsel to Creditors, I Am Detroit, Inc. and
                                       Hatteras, Inc.




                                            4
   24-40667-mlo
132553270v1       Doc 30   Filed 04/15/24       Entered 04/15/24 15:16:54   Page 4 of 6
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 In re:                                          ) Case No. 24-40667
                                                 ) Chapter 13
 Brandon Yopp,                                   )
                                                 ) Judge Maria L. Oxholm
     Debtor.                                     )
                                                 )


                               CERTIFICATE OF SERVICE

           I hereby certify that on March 14, 2024, I caused a copy of the following to

be served:

    (i)       Motion for Order Directing Production of Documents and Oral
              Examination of Debtor;
    (ii)      Notice of Motion for Order Directing Production of Documents and Oral
              Examination of Debtor; and
    (iii)     this Certificate of Service.
On all parties who are registered to receive electronic notification via the court’s

ECF filing system, including the Debtor’s counsel, and the United States Trustee.

                                    Respectfully submitted by:

                                    TAFT, STETTINIUS & HOLLISTER, LLP

Dated: March 14, 2024               By:    /s/ Kimberly Ross Clayson
                                           Kimberly Ross Clayson (P69804)
                                           R. Christopher Cataldo (P39353)




  24-40667-mlo        Doc 30   Filed 04/15/24   Entered 04/15/24 15:16:54   Page 5 of 6
132553270v1
                                       27777 Franklin Road, Suite 2500
                                       Southfield, Michigan 48034
                                       Phone: (248) 351-3000
                                       kclayson@taftlaw.com
                                       ccataldo@taftlawcom

                                       Counsel to Creditors, I Am Detroit, Inc. and
                                       Hatteras, Inc.



Signed on April 15, 2024




                                            2
   24-40667-mlo
132553270v1       Doc 30   Filed 04/15/24       Entered 04/15/24 15:16:54   Page 6 of 6
